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                                  OFFICE OF THE CLERK
                            UNITED STATES DISTRICT COURT
                                Northern District of California

                                       CIVIL MINUTES


 Date: April 16, 2020               Time: 10:46-11:06=               Judge: EDWARD M. CHEN
                                            20 Minutes


 Case No.: 19-cv-00290-EMC          Case Name: American Civil Liberties Union Foundation v.
                                    Department of Justice
Attorney for Plaintiff: Hugh Handiside
Attorney for Defendant: Elizabeth Tulis
 Deputy Clerk: Angella Meuleman                          Court Reporter: Katherine Sullivan


                                        PROCEEDINGS
Telephonic Status Conference - held
                                          SUMMARY
Parties have appeared before Magistrate Judge Illman on April 14. He directed the parties to report
back on resolving document review delays particularly with respect to DHS and OIP. Parties are
scheduled to report back to him by 5/5/2020 and the Court will discuss the possibility of setting
specific benchmarks for completion of review.
Government stated that some agencies - FBI and State Department - were scheduled to complete
production by end of this calendar year, but the COVID crisis may alter schedule.
USCIS, ICE and USCBP have completed their searches. Plaintiff raised the possibility of moving
towards adjudication of disputed redactions, starting with production of Vaugh indexes and search
declarations, leading to partial summary adjudication. Plaintiff noted that it appears that 50% of
the 7000 documents identified have been redacted. Government is opposed and prefers waiting
until a singular motion can be brought as to all agencies because of potential overlapping
documents and issues. Court stated concern that this could delay any adjudication for more than
a year, and ordered the parties to meet and confer to establish a proposed timeline to start
adjudication process as to those agencies which have completed their search.


CASE CONTINUED TO: June 18, 2020, at 10:30 A.M., for Further Status Conference.
Parties shall file a joint CMC statement at least seven days prior to the next hearing.
